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 5
     Attorney for Defendant
 6   MICHELLE ERNESTINA LUCERO
 7
                                   IN THE UNITED STATES DISTRICT COURT
 8
                                FOR THE EASTERN DISTRICT OF CALIFORNIA
 9
10
11 UNITED STATES OF AMERICA,                                  Cr. S-10-162 JAM
12                             Plaintiff,                     STIPULATION AND                  ORDER
                                                              EXONERATING SURETY
13          vs.

14
     MICHELLE ERNESTINA LUCERO,
15
                               Defendant(s).
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18          On April 19, 2010, defendant, Michelle Ernestina Lucero, was ordered released on specified
19   conditions pending trial by Magistrate Judge Gregory G. Hollows. One of the conditions was that
20   unsecured bonds in the aggregate amount of $50,000 be co-signed by the defendant’s husband, Filemon
21   Flores, and her three sons. The appearance bond in the amount of $20,000, co-signed by Filemon Flores
22   was filed on that date.
23          Filemon Flores now wishes to be exonerated from any further obligation under this bond.
24   Pretrial Services Officer Darryl Walker, who has supervised Ms. Lucero for approximately two years,
25   during which time she has had no violations, has no objection to this request.
26          Accordingly, it is hereby stipulated between the parties hereto that Mr. Filemon Flores be
27   exonerated as surety under the appearance bond filed in this action on April 19, 2010.
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                                                       1
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 1   Dated: March 16, 2012                                 BENJAMIN B. WAGNER
                                                           United States Attorney
 2
 3                                               By:        /s/Richard Bender
                                                           RICHARD BENDER
 4                                                         Assistant U.S. Attorney
 5   Dated: March 16, 2012
 6                                                          /s/Hayes H. Gable, III
                                                           HAYES H. GABLE, III
 7                                                         Attorney for Defendant
                                                           MICHELLE ERNESTINA LUCERO
 8
                                                   ORDER
 9
            GOOD CAUSE APPEARING, the foregoing Stipulation of the parties is hereby adopted.
10
     Filemon Flores is hereby exonerated as surety under the Appearance Bond filed in this action on April
11
     19, 2010.
12
     Dated: 3/19/2012                                      /s/ John A. Mendez
13                                                         JOHN A. MENDEZ
                                                           United States District Court Judge
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